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                                                CORRECTED


    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-1461V
                                        UNPUBLISHED


    CHARLES WALTER,                                         Chief Special Master Corcoran

                        Petitioner,                         Filed: June 24, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

Emily H. Manoso, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On June 11, 2021, Charles Walter filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré Syndrome (“GBS”), a
defined Table Injury, after receiving an influenza vaccine on August 22, 2018. Petition at
1, ¶ 2. Petitioner further alleges that he received the vaccination in the United States,
that he suffered the residual effects of his GBS for more than six months and that neither
he nor any other party has filed a civil action or received compensation for her GBS,
alleged as vaccine caused. Id. at ¶¶ 25-27. The case was assigned to the Special
Processing Unit of the Office of Special Masters.



1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On June 23, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent has concluded “that [P]etitioner has satisfied the criteria set forth
in the Vaccine Injury Table (“Table”) and the Qualifications and Aids to Interpretation
(“QAI”).” Id. at 6.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master




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